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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

v. CASE NO, 8:20 -er- IA -T - SSARS

18 U.S.C. § 1349
RICHARD EPSTEIN

a/k/a “Rick Epstein”

INFORMATION

The United States Attorney charges:

COUNT ONE
(Conspiracy to Commit Health Care Fraud)

A, Introduction
At times material to this Information:

The Medicare Program

1. The Medicare Program (“Medicare”) was a federal health care
benefit program that provided items and services to individuals who were
(a) age 65 or older, (b) had certain disabilities, or (c) had end-stage renal
disease. Individuals who received Medicare benefits were called

“beneficiaries.”
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2. Medicare was administered by the Centers for Medicare and
Medicaid Services (“CMS”), which was an agency of the United States
Department of Health and Human Services (“HHS”).

3. To help administer Medicare, CMS contracted with private
insurance companies called “Medicare Administrative Contractors” or
“MACs.” MACs performed many functions, such as processing Medicare
claims or enrolling suppliers into the Medicare program. In performing such
functions, MACs were assigned to particular geographical “jurisdictions.”

4. Medicare was made up of several component “parts” that
covered different items and services. Medicare Part A, for example, covered
inpatient hospital stays. Medicare Part B covered, among other items and
services, outpatient care and supplies—including, pertinently, orthotic devices.

Durable Medical Equipment (“DME”)

5. Orthotic devices included items such as knee braces, back braces,
shoulder braces, wrist braces, and other braces. Such orthotic devices were
referred to as “durable medical equipment” or “DME.” Under Medicare Part
B, as detailed later, beneficiaries could only receive Medicare-covered DME
(such as braces) ffom “suppliers” that were enrolled in Medicare.

6. Medicare claims for DME were processed by two MACs: (i)

CGS Administrators, LLC (“CGS”), and (ii) Noridian Healthcare Solutions
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(“Noridian”). Together, CGS and Noridian are referred to herein as the
“DME MACs.”

Medicare Part B Enrollment: The Form CMS-855S

7. A different MAC, Palmetto GBA, LLC (“Palmetto”), handled
the enrollment of DME suppliers into Medicare. Palmetto was the single
entity responsible for, among other duties, issuing or revoking Medicare
supplier billing privileges for DME suppliers. Palmetto was also referred to as
the National Supplier Clearinghouse (“NSC”) MAC for DME suppliers.

8. To enroll in Medicare Part B, DME suppliers were required to
submit a completed enrollment application—meaning the “Form CMS-
855S”—to Medicare. The Form CMS-8555S listed many standards necessary to
obtain and to retain Medicare billing privileges as a DME supplier.

9. Pursuant to those standards, DME suppliers were required to
provide complete and accurate information on the Form CMS-855S and,
further, report any changes to such information to the NSC MAC within 30
days. The standards for DME suppliers also included the following
requirements:

&
a. an authorized individual (one whose signature is binding)

must sign the application for billing privileges;

b. DME suppliers were prohibited from direct solicitation to
Medicare beneficiaries;
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c. DME suppliers had to fill orders from their own inventory
or, otherwise, were to contract with another company for
the purchase of items to fill orders;

d. DME suppliers had to maintain a staffed physical facility
accessible to the public at least thirty hours per week, with
visibly posted hours of operation;

e. DME suppliers must disclose any person having
ownership, financial or control interest in the supplier;

f. DME suppliers must not convey or reassign a supplier
number; and

g. DME suppliers must be accredited by an accreditation
organization to receive a supplier billing number.

Owners and Managers of DME Suppliers

10. The Form CMS-8555S required applicants to disclose to Medicare
any individual or organization with an ownership interest, a financial interest,
or managing control of a DME supplier. This included (i) anyone with 5% or
more of an ownership stake, either direct or indirect, in the DME supplier; (ii)
anyone with a partnership interest in the DME supplier, regardless of the
percentage of ownership, (iii) any organizations with “managing control” over
the DME supplier, as well as (iv) any and all “managing employees.”

11. “Managing employee” was defined on the Form CMS-855S (and
elsewhere) as any general manager, business manager, administrator, director,
or other individual who exercised operational or managerial control over, or
who, directly or indirectly, conducted the day-to-day operations of the DME

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supplier. This included anyone under contract or through some other
arrangement, whether or not the individual was a “W-2 employee” of the
DME supplier.

12. The Form CMS-855S also called for extensive information
regarding those who owned, managed, and/or controlled (financially or
otherwise) the DME supplier. This information included the mandatory
disclosure of “Adverse Legal Actions,” which was defined to include, among
other things, any federal or state felony conviction within 10 years.

Certification by Authorized Official

13. Finally, the Form CMS-855S required the signature of an
“authorized official.” The act of signing, or authorizing such signing, bound
the DME supplier and official(s) to abide by all “laws, regulations, and
program instructions” for Medicare. It also bound and certified the DME
supplier and official(s) to the following terms, among others:

I agree to abide by the Medicare laws, regulations and
program instructions that apply to me or to the
organization listed in Section 1B of this application. The
Medicare laws, regulations, and program instructions are
available through the fee-for-service contractor. I

é understand that payment of a claim by Medicare is
conditioned upon the claim and the underlying transaction
complying with such laws, regulations and program

instructions|,] including, but not limited to, the Federal
Anti-Kickback Statute, 42 U.S.C. section 1320a—7b(b)[.]

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I will not knowingly present or cause to be presented a
false or fraudulent claim for payment by Medicare, and
will not submit claims with deliberate ignorance or
reckless disregard of their truth or falsity.

On-Site “BOC” and Medicare Inspections

14. To enroll in Medicare, DME suppliers were required to complete
an accreditation process by an organization approved by CMS. One CMS-
approved organization that could perform such accreditation was known as
the Board of Certification/ Accreditation or the “BOC.” The BOC had a set of
standards that DME suppliers had to meet for accreditation, which were tested
at on-site inspections and random re-inspections.

15. The NSC MAC also conducted surprise on-site inspections for
Medicare enrollment, which helped verify the information disclosed in the
Form CMS-8555 and supporting documents. DME supplier responses to the
NSC MAC’s on-site inspections were recorded, in part, on a Site Investigation
for Suppliers of Durable Medical Equipment, Prosthetics, Orthotics and
Supplies, Form CMS-R-263. An authorized site inspector would interview
staff seeking, among other information, a complete list of all owners and
managers (as defined previously) and, further, whether they or any of their
relatives owned other medical entities.

16. The NSC MAC inspection also involved a review of any on-site
DME inventory. DME suppliers that did not maintain their own inventory

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could be asked to produce a contract with a third-party vendor, such as a
DME “drop-shipping” company.

17. Further, the NSC MAC inspection inquired about marketing
efforts including, pertinently, direct solicitation or the utilization of any third
party to solicit beneficiaries’ referrals via telephone.

18. Finally, all Medicare-enrolled DME suppliers were subject to
random re-inspections. During a re-inspection, an inspector could make the
same inquiries noted above, request supporting documentation, and seek
follow up information from the DME supplier. Failure to comply could result
in the suspension or revocation of Medicare billing privileges.

DME Suppliers’ Unique Identification Numbers: NPIs and PTANs

19. To bill Medicare, the DME supplier required two unique
identification numbers: (i) a “National Provider Identifier” or “NPI,” and (ii)
a “Provider Transaction Access Number” or “PTAN.” To issue NPIs, CMS
developed the National Plan and Provider Enumeration System, which
assigned NPIs to providers, including DME suppliers.

20. For PTANs, the NSC MAC was the entity responsible for issuing
such identifiers to DME suppliers, but only after approving their Forms CMS-

855S, meaning the Medicare enrollment application. With both the PTAN
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and the NPI, DME suppliers could submit claims and receive payments from
Medicare for braces and other equipment.

DME Claims Submission under Medicare Part B

21. Claims for DME supplies could be submitted for payment to the
MAC through an “Electronic Data Interchange (“EDI”) system. EDI was a
computer-to-computer electronic exchange of business documents using a
standard format. Pertinently, EDI allowed a DME supplier the ability to
transmit Electronic Media Claims (“EMC”) to a Medicare in a compliant
format. Medicare, in turn, required that a DME supplier complete a Common
Electronic Data Interchange (“CEDI”) agreement for EDI services with the
DME MACs. The CEDI agreement, in electing to submit Medicare claims
electronically. required the DME supplier to agree to several terms and
conditions. Such terms and conditions included the following requirements:

a. that it will be responsible for all Medicare claims submitted
to CMS ora designated CMS contractor by itself, its
employees, or its agents;

b. that it will submit claims only on behalf of those Medicare
beneficiaries who have given their written authorization to
do so, and to certify that required beneficiary signatures, or
legally authorized signatures on behalf of beneficiaries, are

on file;

Cc. that it will submit claims that are accurate, complete, and
truthful;
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that it will affix the CMS-assigned unique identifier
number (submitter ID) of the provider on each claim
electronically transmitted to the A/B MAC, CEDI, or
other contractor if designated by CMS;

that the CMS-assigned unique identifier number (submitter
identifier) or NPI constitutes the provider’s legal electronic
signature and constitutes an assurance by the provider that
services were performed as billed; and

that it will acknowledge that all claims will be paid from
Federal funds, that the submission of such claims is a
claim for payment under the Medicare program, and that
anyone who misrepresents or falsifies or causes to be
misrepresented or falsified any record or other information
relating to that claim that is required pursuant to this
agreement may, upon conviction, be subject to a fine
and/or imprisonment under applicable Federal law.

22. Both methods of filing claims required the submission of certain

information relating to a specific patient or beneficiary. The information

necessary for a DME claim included:

a.

the type of service provided, identified by an “HCPCS”
code (meaning “Healthcare Common Procedure Coding
System”);

the date of service or supply;

the referring physician’s NPI;

the charge for such services;

patient’s diagnosis,

the NPI and PTAN for the DME entity seeking
reimbursement; and
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g. certification by the DME provider that the supplies are
medically necessary.

23. Further, before submitting a claim for an orthotic brace to the
DME MAC, a supplier was required to have on file the following:

a. written documentation of a verbal order or a preliminary
written order from a treating physician;

b. a detailed written order from the treating physician;

c. information from the treating physician concerning the
beneficiary’s diagnosis;

d. any information required for the use of specific modifiers;
e. a beneficiary’s written assignment of benefits; and
f. proof of delivery of the orthotic brace to the beneficiary.
24. Finally, under Medicare Part B, providers were not permitted to
routinely waive copayments, which were the portion of the cost of an item
paid by a beneficiary.
Cancer-Genetic Testing
25. Cancer genetic testing (“CGx testing”) used DNA sequencing to
detect mutations in genes that could indicate a higher risk of developing
certain types of cancers in the future. CGx testing was not a method of
diagnosing whether an individual had cancer at the time of the test.
26. Medicare did not cover diagnostic testing that was not reasonable
and necessary for the diagnosis or treatment of illness or injury or to improve

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the functioning of a malformed body member. Except for certain exceptions,
Medicare did not cover “examinations performed for a purpose other than
treatment or diagnosis of a specific illness, symptoms, complaint or injury.”
Among the statutory exceptions Medicare covered were cancer screening tests
such as “screening mammography, colorectal cancer screening tests, screening
pelvic exams, [and] prostate cancer screening tests.”

27. If diagnostic testing was necessary for the diagnosis or treatment
of illness or injury or to improve the functioning of a malformed body
member, Medicare imposed additional requirements before covering the
testing. All diagnostic x-ray tests, diagnostic laboratory tests, and other
diagnostic tests must be ordered by the physician who is treating the
beneficiary, that is, the physician who furnishes a consultation or treats a
beneficiary for a specific medical problem and who uses the results in the
management of the beneficiary’s specific medical problem. Tests not ordered
by a physician treating the beneficiary are not reasonable and necessary.

28. Because CGx testing did not diagnose cancer, Medicare only
covered such tests in limited circumstances, such as when a beneficiary had
cancer and the beneficiary’s treating physician deemed such tésting necessary

for the beneficiary’s treatment of that cancer. Medicare did not cover CGx

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testing for beneficiaries who did not have cancer or lacked symptoms of
cancer.

Telemedicine Services for Medicare Beneficiaries

29. Telemedicine was a means of connecting patients to providers via
a telecommunication technology, such as video-conferencing. Telemedicine
companies hired physicians and other providers to furnish telemedicine
services to individuals. Telemedicine companies typically paid “treating
providers” a fee to consult with patients. In order to generate revenue,
telemedicine companies typically either billed the Medicare program or other
health insurance program, or offered a membership program to patients.

30. Some telemedicine companies offered membership programs to
patients who signed a contract for telemedicine services, paid a set dollar
amount per month, and paid a fee each time the patient had a telemedicine
encounter with one of its providers.

31. Medicare Part B covered expenses for specified telehealth
services if certain requirements were met. These requirements included,
among others: (a) that the beneficiary was typically located in a rural area
(meaning, outside a‘“Metropolitan Statistical Area” or in a rural health
professional shortage area); (b) that the services were delivered via an

interactive audio- and video-telecommunications system; and (c) that the

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beneficiary was at a practitioner’s office or a specified medical facility—not at

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home—during the telehealth service furnished by a remote practitioner.

CHAMPVA

32. The Civilian Health and Medical Program of the Department of
Veterans Affairs (“CHAMPVA”) was a federal health benefit program.
CHAMPVA was a comprehensive health care program in which the VA
shared the cost of covered health care services and supplies with eligible
beneficiaries. The eligible categories for CHAMPVA beneficiaries were the
spouses or children of veterans who had been rated permanently and totally
disabled for a service-connected disability and the surviving spouse or child of
a veteran who died from a VA-rated service-connected disability. In general,
the CHAMPVA program covered most health care services and supplies that
were medically and psychologically necessary. CHAMPVA was always the
secondary payer to Medicare and reimbursed beneficiaries for costs that
Medicare did not cover. Health care claims must have first been sent to
Medicare for processing. Medicare electronically forwarded claims to
CHAMPVA after Medicare had processed them. For Medicare supplemental
plans, CHAMPVA processed the remaining portion of the claim after

receiving Medicare’s explanation of benefits.

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The Conspirators and Their Enterprises
The REMN Faction

33.  Inor about October 2016, RICHARD EPSTEIN (a/k/a “Rick
Epstein) and M.N. established REMN Management LLC (“REMN”) in
Tampa, Florida, which is within the Middle District of Florida. Together,
EPSTEIN, M.N., and other conspirators associated with REMN are referred
to as the REMN Faction. REMN was a purported “marketing” company
serving the CGx-testing and DME industries.

34. In or about April 2018, the REMN Faction conspirators formed
a purported telemedicine company called Comprehensive Telcare, LLC
(“CompTel’”), which was also in the Middle District of Florida. CompTel’s
telemedicine services were integrated with REMN’s purported marketing
operations. The REMN Faction conspirators also offered CompTel’s services
to third parties, including Patsy Truglia, for a per-claim fee. The REMN
Faction conspirators dissolved both REMN and CompTel in or around March
2019.

35. Within days of dissolving REMN and CompTel, the REMN
Faction conspirators began operating Allufe Health Management LLC, which

offered the same telemedicine services that CompTel had.

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36. The REMN Faction also controlled, owned, held financial
interests in, and/or managed multiple DME supply companies—hereinafter,
collectively, the “DME Fronts”—including, but not limited to SunRay
Medical, Inc. (1265900690/7730250001), JAM Medical
(1164990594/7730230001), and A Step Above Medical, Inc. (“A Step
Above”) (1891270526/7724560001).

The Regency Faction

37. Regency, Inc. (“Regency”) was a DME billing and consulting
company in Largo, Florida. Regency was owned and operated by K.W., who
resided in Pinellas County, Florida. K.W. and others, including S.P. and
M.K., at Regency are collectively referred to as the Regency Faction.

38. Regency’s consulting services included, among other things, the
creation and sale of “turn-key” DME supply companies to clients. As part of
this service, Regency generally assisted clients with the accreditation and
Medicare-enrollment processes. The REMN Faction conspirators and others
used these services to establish DME Fronts.

CGx Marketers

. 39. Archer Diagnostics, LLC (“Archer”), a South Carolina limited
liability company with its principal place of business at 300B American Legion

Road, Greer, South Carolina, was a purported marketing company that

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identified and solicited beneficiaries to receive CGx testing and provided CGx
tests to laboratories.

40. Mark Allen (“Allen”), a resident of South Carolina, owned,
operated, and/or controlled Archer.

41. JL Management, LLC (“JL”), a Wyoming limited liability
company registered with an address at 30 N. Gould Street, Sheridan
Wyoming, was a purported medical billing company. Allen and EPSTEIN
owned, operated, and/or controlled JL.

CGx Laboratories

42. Acadian Diagnostic Laboratories, LLC (“Acadian”) was a
Louisiana limited liability company with its principal place of business at
11842 Justice Avenue, Baton Rouge, Louisiana, within the Middle District of
Louisiana. Acadian was a laboratory that purported to provide diagnostic
laboratory services, including CGx testing.

43. Laboratory A, a Louisiana limited liability company, purported

to provide diagnostic laboratory services, including CGx testing.

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B. The Conspiracy

44, Beginning in or about October 2016, and continuing until in or
about April 2019, in the Middle District of Florida and elsewhere, the
defendant,

RICHARD EPSTEIN,
a/k/a “Rick Epstein,”

did knowingly and willfully combine, conspire, confederate, and agree with
M.N., P.S., K.W., Patsy Truglia, Ruth Fernandez, Mark Allen, and others to
commit health care fraud, in violation of 18 U.S.C. § 1347.
C. Manner and Means of the Conspiracy
45. The manner and means by which the defendants and their
conspirators sought to accomplish the objects of the conspiracy included,
among others, the following:

a. It was part of the conspiracy that the REMN Faction
conspirators would and did run a telemarketing operation through REMN and
other entities targeting the Medicare-aged population to generate orders for
DME braces and CGx-testing.

b. It was further a part of the conspiracy that, to target
Medicare beneficiaries, the REMN Faction conspirators would and did obtain

personally identifying information or “PII”—such as names, dates of birth,

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and/or Medicare ID numbers—for the Medicare-aged population, including
by purchasing PII from known “lead generators.”

c. It was further a part of the conspiracy that call-center
representatives would and did call, or purport to call, Medicare beneficiaries to
inquire about, among other information, the beneficiaries’ Medicare eligibility,
their health status, and whether they wanted DME braces or CGx testing.

d. It was further a part of the conspiracy that call-center
representatives would and did make written electronic records of the calls, and
purported calls, to Medicare beneficiaries to build orders for DME braces
and/or CGx testing.

e. It was further a part of the conspiracy that, through
automation and other electronic means, the REMN Faction conspirators
would and did cause the transmission of Medicare beneficiaries’ orders for
DME braces and/or CGx testing to medical practitioners associated with
telemedicine companies, including CompTel.

f. It was further a part of the conspiracy that the REMN
Faction conspirators would and did offer and pay illegal bribes to medical
practitioners to sign and to prescribe the orders for DME braces and/or CGx °

testing under the guise of “telemedicine,” regardless of medical necessity.

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g. It was further a part of the conspiracy that, often, the
medical practitioners associated with telemedicine companies would and did
sign the DME brace and/or CGx-testing orders without ever contacting the
Medicare beneficiaries, rather than using the required interactive audio- and
video-telecommunications system for a compliant telehealth consultation.

h. It was further a part of the conspiracy that the REMN
Faction conspirators would and did electronically transmit, or caused the
transmission of, signed DME or CGx-testing orders, which were secured
through illegal bribes, to other conspirators, including Truglia, Fernandez,
Allen, and others.

i. It was further a part of the conspiracy that the REMN
Faction conspirators, the Regency Faction conspirators, and others would and
did acquire and create DME Fronts for the purpose of submitting illegal
claims for DME braces to Medicare.

j. It was further a part of the conspiracy that the REMN
Faction conspirators, the Regency Faction conspirators, and others would and
did conceal from Medicare and others, that EPSTEIN held financial interests
in the DME Fronts. The methods of concealment included, among others, the
use of straw owners for Medicare enrollment applications (i.e., Forms CMS-

855S), corporate records, and other documents.

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k. It was further a part of the conspiracy that the REMN
Faction conspirators would and did sell and offer to sell orders for DME
braces and CGx-testing to other conspirators, including Truglia, R.D., and
others.

1. It was further a part of the conspiracy that EPSTEIN and
Allen caused signed orders for CGx tests and CGx samples to be transmitted
to Acadian, Laboratory A, and other testing laboratories, where the samples
were tested and claims for reimbursement were submitted to Medicare.

m. It was further a part of the conspiracy that Acadian,
Laboratory A, and other testing laboratories paid bribes and kickbacks to
Allen and EPSTEIN, through REMN and JL, in exchange for the referral of
CGx samples.

n. It was further a part of the conspiracy that the REMN
Faction conspirators would and did facilitate submission of approximately $25
million of illegal DME claims to Medicare through DME fronts controlled
and/or managed by Truglia, Fernandez, and others, resulting in payments of
approximately $10 million.

é oO. It was further a part of the conspiracy that the REMN

Faction conspirators would and did facilitate the submission of over

approximately $109 million of illegal CGx claims to Medicare through

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Acadian and Laboratory A, resulting in payments of over approximately $19
million; and

p. It was further part of the conspiracy that the conspirators
would and did participate in meetings, perform various acts, and make
statements to accomplish the object of and to conceal the conspiracy.

All in violation of 18 U.S.C. § 1349.

FORFEITURE

l. The allegations contained in Count One of this Information are
realleged and incorporated by reference for the purpose of alleging forfeitures
pursuant to the provisions of 18 U.S.C. § 982(a)(7).

2. Upon conviction of the violation alleged in Count One, the
defendant shall forfeit to the United States of America, pursuant to 18 U.S.C.
§ 982(a)(7), any and all property, real or personal, which constitutes or is
derived, directly or indirectly, from proceeds traceable to the commission of
the offense.

3. The property to be forfeited includes, but is not limited to, a
judgment in the amount of approximately $3 million, which represents the
amount of proceeds obtained by the defendant as a result of the commission of

the offenses.

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4. If any of the property described above, as a result of any act or

omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third
party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

& has been commingled with other property which cannot be

divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute

property under the provisions of 21 U.S.C. § 853(p), as incorporated by

18 U.S.C. § 982(b)(1).

MARIA CHAPA LOPEZ
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ay G»Trezevant

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